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Via ECF                                                      December 6, 2024

Honorable Jennifer L. Rochon
United States District Court
Southern District of New York
500 Pearl Street, Room 1920
New York, NY 10007

       Re: Heilbut v. Cassava, et al., Case No. 1:24-cv-05948-JLR

Dear Judge Rochon:
        We write jointly on behalf of plaintiffs Adrian Heilbut, Jesse Brodkin, and Enea Milioris
(“Plaintiffs”) and defendants Cassava Sciences, Inc., Remi Barbier, and Dr. Lindsay Burns
(“Defendants”) to advise the Court that all Plaintiffs and all Defendants consent to the motion to
intervene filed by Proposed-Intervenor Plaintiffs David Bredt and Geoffrey Pitt on December 2,
2024. (Dkts. 30-32.)

        As discussed during the initial case management conference on December 4, 2024, the
parties will submit a revised joint proposed case management order as soon as the unopposed
motion to intervene is granted.

      We thank the Court for its attention to this matter and are available at the Court’s
convenience.


                                                            Respectfully submitted,
                                                             /s/ Isaac B. Zaur
                                                             Isaac B. Zaur


cc:    All parties/counsel of record (via ECF)




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